                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                 3:98 CR 311

UNITED STATES OF AMERICA                  )
                                          )
vs.                                       )          ORDER
                                          )
TIMOTHY A. LATTIMORE          (4)         )
__________________________________________)


      THIS MATTER IS BEFORE THE COURT upon defendant Timothy A. Lattimore’s
Motion to Terminate Supervised Release [doc. #144] filed November 15, 2006.

      IT IS ORDERED that the Motion to Terminate Supervised Release is DENIED.

      So ordered.
                                          Signed: November 17, 2006




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